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BP oil spill dispersants may have hurt Gulf of Mexico food chain,

study finds

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The Associated Press

A study on possible effects of the 2010 BP oil spill indicates dispersants may have killed plankton -- some of the

ocean's tiniest plants and creatures -- and disrupted the food chain in the Gulf of Mexico, one of the nation's richest

seafood grounds. Scientists who read the study said it points toward major future effects of the spill. One called Its

findings scary.

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BP PLC, via The Associated Press

An image from video made available by BP PLC shows dispersant being
applied to an oil leak during efforts to cap the Deepwater Horizon oit
well in the Gulf of Mexico on Ame 3, 2010. The white wand in the
center is releasing the dispersant.

For the study, Alabame researchers pumped water
from Mobile Bay into 53-gallon drums, then added
oil, dispersant or both in proportions found during
the oif spill to simulate the spill’s effects on

microscopic water-life in the bay.

Over more than 12 weeks in 2010, BP’s well
spewed nearly 200 million gallons of oil into the
Gulf of Mexico. The company used more than 1.8
million gallons of dispersants -- more than
770,000 gallons of it at the oil's source on the
ocean floor -- to break up the oil into tiny droplets.
Earlier research hadn't found significant problems
for the environment and marine life, Dut
dispersants had never before been used a mile

underwater or in such large amounts.

The researchers found that, within days, the
numbers of plant-like phytoplankton and ciliates --

plankton that use hairlike cilia to move --

increased under an oil slick. But they dropped significantly in the drums with dispersant or dispersed oil, while the
numbers of bacteria increased. The study was published Tuesday in PLoS ONE, one of the peer-reviewed journals In

the online Public Library of Science.

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"In those tanks, all of the energy seems to get trapped in the bacterial side. There were lots of bacteria left but no
bigger things. It's like the middle part of the food web is taken away,” said lead researcher Alice Ortmann of the

University of South Alabama and Dauphin Island Sea Lab.

Microbes are too small for fish to eat. Ciliates, on the other hand, "graze" on microbes. Phytoplankton and cilates
both get eaten by larger zooplankton, which are fodder for tiny crustaceans that, in turn, get eaten by small fish.

Brian Crother, a biology professor at Southeastern Louisiana University, called the findings scary, though limited
because the experiments spanned only five days. “If these guys are on the money, they have pointed to something

really disastrous happening in the Gulf,” he said.

The study was extremely well done, said Michael Crosby, senior vice president for research at Mote Marine
Laboratory in Sarasota, Fla. "You've got to look at the impact on the ecosystem as a whole, rather than individual

species," he said.

It is also, he said, more evidence for what he has thought all along: that the Gulf of Mexico's food web is in danger.
"If you go a couple steps beyond their findings, I think we're going to see these things happening and it's going to

take years for them to be seen,” he said,

Ortmann said she and her colleagues, including scientists at Auburn University, were surprised that dispersant alone

had such a big effect on plankton,

Carbon is a basic part of most fife on earth, and an earlier study at Dauphin Island Sea Lab found that plankton

quickly gulped down oil from the spill.

Crother said the new study makes clear that the damage to plankton was from dispersant, not oil, "These guys nave
shown ... that the carbon avaitable from that dispersant fs not easily utilized for energy at the bottom of the food

chain," he said.

Still, other research indicates that "fish did very well in 2010," Ortmann said. There's no indication that the food web

was completely disrupted, but it might have been Interrupted in certain areas, she said.
More research is being done to try to understand the spill's actual impact, she said.

Crosby noted that some environmental effects weren't seen for years after the tanker Exxon Valdez hit a reef and
broke open off Alaska in 1989, causing what was then the nation's largest spill, 11 million gallons.

The late 1980s had been marked by record commercial harvests of herring, but by 1993, the number of spawning
adults had dropped by three-quarters. Disease, ocean changes, contaminants, competition from other fish and

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increasing numbers of humpback whales are being studied as possible reasons that the species has never recovered.

"The herring population in Prince Wiliam Sound didn't collapse until four years after the Exxon Valdez," Crosby said.

"It has never recovered. Never."

Janet McConnaughey of The Associated Press wrote this report.

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